       Case 8-19-71469-ast             Doc 12       Filed 05/28/19    Entered 05/28/19 14:41:07




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In Re:

          Luz Mensing,                                               Case No.: 8-19-70979-ast
          aka Luz D Mensing                                          Chapter 7

                                     Debtor.
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                ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

          On May 2, 2019, the Motion (the “Motion”) of Ajax Mortgage Loan Trust 2018-F,

Mortgage-Backed Securities, Series 2018-F, by U.S. Bank National Association, as Indenture

Trustee by its servicing agent Gregory Funding, LLC (“Movant”), dated May 10, 2019, came

before the Court, for relief from the automatic stay with respect to the collateral known as 187

Princess Street, Hicksville, New York 11801 (the “Collateral”). This Court, having considered the

evidence presented and the arguments of the parties, and with good cause appearing therefor, it is

hereby

          ORDERED, that the automatic stay in effect pursuant to 11 U.S.C. § 362(a), is hereby

terminated pursuant to 11 U.S.C. Section 362(d)(1) for cause as to Movant, its agents, assigns or

successors in interest, so that Movant, its agents, assigns or successors in interest, may take any

and all action under applicable state law to exercise its remedies against the Collateral; and it is

further

          ORDERED, that the Chapter 7 Trustee shall be served with a copy of the referee’s report

of sale within (30) days of the report [if applicable], shall be noticed with any surplus monies

realized from the sale of the Collateral; and it is further
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     ORDERED, that all other relief sought in the Motion is denied.




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Dated: May 28, 2019                                               Alan S. Trust
       Central Islip, New York                           United States Bankruptcy Judge
